

Matter of Fisher (2023 NY Slip Op 04256)





Matter of Fisher


2023 NY Slip Op 04256


Decided on August 10, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 10, 2023

PM-171-23
[*1]In the Matter of Robert Craig Fisher, an Attorney. (Attorney Registration No. 2114668.)

Calendar Date:August 7, 2023

Before:Clark, J.P., Aarons, Pritzker, Reynolds Fitzgerald and McShan, JJ.

Robert Craig Fisher, Glenwood Springs, Colorado, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Robert Craig Fisher was admitted to practice by this Court in 1987 and lists a business address in Glenwood Springs, Colorado with the Office of Court Administration. Fisher now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Fisher's application.
Upon reading Fisher's affidavit sworn to April 24, 2023 and filed May 5, 2023, and his supplemental affidavit of June 21, 2023 with exhibits, and upon reading the August 2, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Fisher is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.

Clark, J.P., Aarons, Pritzker, Reynolds Fitzgerald and McShan, JJ., concur.
ORDERED that Robert Craig Fisher's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Robert Craig Fisher's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Robert Craig Fisher is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Fisher is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Robert Craig Fisher shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








